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                                                                                             2016 Apr-07 PM 07:08
                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA



PAMELA LEMONS,                          )
                                        )
           Plaintiff,                   )
                                        )
v.                                      )               Civil Action No. 4:15-cv-00368-VEH
                                        )
UNITED CREDIT SPECIALIST                )
RECOVERY;                               )
GUIDIVILLE RANCHERIA OF                 )
CALIFORNIA;                             )
MICHAEL DERRY;                          )
JEFF WINTERS;                           )
JOEY CAPO; and                          )
DOE 1-5,                                )
                                        )
          Defendants.                   )
                                        )
_______________________________________ )

                       STIPULATION TO DISMISS ENTIRE ACTION

       The parties to this stipulation agree that the entire action against all defendants

be dismissed with prejudice and without costs to any party.


Date: April 7, 2016


/s/ Robert Amador                                  /s/ Thomas H. Christopher
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                                                   /s/Steffani A. Cochran
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